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                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     FARZAD FARZAYEE
     AND
     TOBAH FARZAYEE
                                                   Case No. 16-12551-RGM

                           Debtors
                             MOTION TO DISMISS,
                        NOTICE OF MOTION TO DISMISS
                                   AND
                NOTICE OF SCHEDULED HEARING ON THIS MOTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this motion to dismiss your Chapter
     13 case. The cause for this motion is as follows:
            Pursuant to 11 U.S.C. §1307(c)(6) - Material default by Debtor as is reflected
            in the attached Trustee’s Report of Receipts and Disbursements. Debtors’ most
            recent payment was returned for insufficient funds and Debtors have failed to
            make the $30,000.00 lump sum payment that was due in October 2016.

            Pursuant t 11 U.S.C. §1307(c)(1) – Unreasonable delay by Debtor which is
            prejudicial to the rights of creditors under this Chapter 13 Plan. Debtors have
            been in Chapter 13 since July 25, 2016 and do not appear to be moving towards
            confirmation. To date they have paid in only $500.00 in cleared funds (one
            subsequent payment bounced) and appear unlikely to be able to fund the
            amount that will be necessary under any Plan during the diminishing term
            remaining.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the motion, or if you
     want the court to consider your views on the motion, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
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     Notice and Motion to Dismiss
     Farzad Farzayee and Tobah Farzayee, Case #16-12551-RGM

            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before five business days prior to the scheduled hearing.
            You must mail a copy to the persons listed below.

     Attend the hearing to be held on December 15, 2016 at 9:30 a.m., in Courtroom 1 on
     the 2nd floor, United States Bankruptcy Court, 200 South Washington Street,
     Alexandria, VA 22314. If no timely response has been filed opposing the relief
     requested, the court may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Thomas P. Gorman
                                   300 North Washington Street, Ste.400
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314

            If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion and may enter an order granting that relief.

     Date: _November 29, 2016_____                       __/s/ Thomas P. Gorman______
                                                         Thomas P. Gorman
                                                         Chapter 13 Trustee
                                                         300 N. Washington Street, #400
                                                         Alexandria, VA 22314
                                                         (703) 836-2226
                                                         VSB 26421

                                  CERTIFICATE OF SERVICE
     I hereby certify that I have this 29th day of November, 2016, served via ECF to
     authorized users or mailed a true copy of the foregoing Motion to Dismiss, Notice of
     Motion and Notice of Hearing to the following parties.

     Farzad Farzayee                              Christopher S. Moffitt
     Tobah Farzayee                               Attorney for Debtor
     Chapter 13 Debtors                           218 N. Lee Street, 3rd Floor
     20 Curving Branch Way                        Alexandria, VA 22314
     Stafford, VA 22556
                                                         __/s/ Thomas P. Gorman______
                                                         Thomas P. Gorman
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                                                     INTERIM STATEMENT AS OF 11/29/2016
 CASE NO: 16-12551-RGM
STATUS: BASE PLAN
                                        DEBTOR: XXX-XX-8843                     JOINT DEBTOR: XXX-XX-4897
                                        FARZAYEE, FARZAD                        FARZAYEE, TOBAH                             SCHEDULE:             500.00 MONTHLY
                                 AKA:                                                                                      TOTAL PAID:                       500.00
       DATE FILED: 07/25/2016           20 CURVING BRANCH WAY                   20 CURVING BRANCH WAY                              LAST 12 TRANSACTIONS
                                        STAFFORD, VA 22556                      STAFFORD, VA 22556                         Date          Source                 Amount
      CONFIRMED:
                                                                                                                           10/25/16 RETURNED FUNDS            (500.00) NSF
       LATEST 341: 09/13/2016                                                                                              10/21/16 PC                          500.00
   PERCENTAGE:           1.000                   ATTORNEY: CHRISTOPHER S. MOFFITT                                          09/20/16 PC                          500.00
                                                           218 N. LEE STREET, 3RD FLOOR
             PLAN: 60 MONTHS                               ALEXANDRIA, VA 22314
                                                           Phone:703 683-0075 Fax: 703 997-8430
       1st PAYMENT DUE: 08/2016
                                                      Needed to Complete Base:
           ON SCHEDULE:            31,500.00
                                                                          BASE:         60,000.00
       ACTUAL PAYMENTS:                 500.00
                                                                                        59,500.00
        AMOUNT BEHIND:             31,000.00




DIRECT PAY

CLAIM      CRED                 CREDITOR                     DISB       CLASS     ARREARS        FIXED         SCHED         PAID BY       BALANCE           CLAIM
             NO                   NAME                       CODE                               PAYMENT       AMOUNT        TRUSTEE          DUE            STATUS
001       276245    STAFFORD COUNTY                          PRO         SEC            0.00         0.00      87,489.74        0.00         0.00         DIRECT
002       344779    GUARANTEE AUTOMAXX CORP                  PRO         SEC            0.00         0.00           0.00        0.00         0.00         DIRECT
003       340574    NATIONSTAR MORTGAGE                      PRO         SEC            0.00         0.00           0.00        0.00         0.00         DIRECT
004       345179    STATE EMPLOYEES CREDIT UNION             PRO         SEC            0.00         0.00           0.00        0.00         0.00         DIRECT




PLAN AND FILED CLAIMS
CLAIM NO CRED       CREDITOR NAME                          DISB CODE CLASS INT. BEGIN           FIX PAY ORG. CLAIM         APPROVED       PRIN. PAID       PRIN. DUE
          NO        CLAIM REMARK                           LAST DISB PAY%     INT. RATE         ARREARS SCHED AMT          TO BE PAID      INT. PAID        INT. DUE
001       276245    STAFFORD COUNTY                          PRO       PRI                          0.00      2,058.79        2,058.79             0.00      2,058.79
                                                                       100.00                       0.00      2,500.00        2,058.79             0.00          0.00
005       334405    FIRST TENNESSEE BANK                     PRO-I    SEC                           0.00    139,781.81            0.00             0.00        Closed
                    CL W/DRAWN BY CRED 9/26/16                         100.00                       0.00          0.00            0.00             0.00
006       AMEXP     AMERICAN EXPRESS BANK, FSB               PRO      UNS                           0.00      2,776.94        2,776.94             0.00         27.77
                                                                         1.00                       0.00      2,760.00           27.77             0.00          0.00
007       331149    BANK OF AMERICA                          PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00     33,324.00            0.00             0.00
008       325996    BARCLAYS BANK DELAWARE                   PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00     13,323.00            0.00             0.00
009       325996    BARCLAYS BANK DELAWARE                   PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00     11,282.00            0.00             0.00
010       310029    CAPITAL ONE                              PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00     15,418.00            0.00             0.00
011       322047    CHASE BANK                               PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00     23,081.00            0.00             0.00
012       344782    DURRETT CRUMP PLC                        PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00     50,000.00            0.00             0.00
013       344783    FARZANA SULTANI                          PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00     27,000.00            0.00             0.00
014       318496    FIRST TENESSE BANK                       PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00    139,781.81            0.00             0.00
015       344797    FIRST NATIONAL BANK OF OMAHA             PRO      UNS                           0.00     12,366.47       12,366.47             0.00       123.66
                                                                         1.00                       0.00     12,366.47          123.66             0.00          0.00
016       328206    KAISER PERMANENTE                        PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00      2,000.00            0.00             0.00
017       332103    CAPITAL ONE, NA                          PRO      UNS                           0.00         51.01           51.01             0.00          0.51
                    KOHL'S                                               1.00                       0.00      2,004.00            0.51             0.00          0.00
017A      332103    CAPITAL ONE, NA                          PRO      UNS                           0.00      2,004.36        2,004.36             0.00         20.04
                                                                         1.00                       0.00          0.00           20.04             0.00          0.00
018       327340    MACYS                                    PRO      UNS                           0.00          0.00            0.00             0.00      Not Filed
                                                                         1.00                       0.00        924.00            0.00             0.00

** Creditor has not filed a Proof of Claim. Accumulated funds will be released to other creditors if no claim is filed with the U.S. Bankruptcy Court
by the date of the scheduled Chapter 13 Review Meeting.
Claims with an A code in the DISB/CODE column are placed on hold and need to be resolved. NO disbursements are being made to the creditor.
This is a progress report only and should not be used to calculate a payoff.                                                              Case Maintenance 10.5
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 CASE NO: 16-12551-RGM
STATUS: BASE PLAN
                                        DEBTOR: XXX-XX-8843                        JOINT DEBTOR: XXX-XX-4897
                                        FARZAYEE, FARZAD                           FARZAYEE, TOBAH                            SCHEDULE:          500.00 MONTHLY
PLAN AND FILED CLAIMS
CLAIM NO CRED       CREDITOR NAME                          DISB CODE CLASS         INT. BEGIN    FIX PAY ORG. CLAIM          APPROVED       PRIN. PAID   PRIN. DUE
          NO        CLAIM REMARK                           LAST DISB PAY%          INT. RATE     ARREARS SCHED AMT           TO BE PAID      INT. PAID    INT. DUE
019       344786    MATTRESS DISCOUNTER                      PRO          UNS                          0.00           0.00           0.00         0.00     Not Filed
                                                                            1.00                       0.00       4,128.00           0.00         0.00
020       344798    MICHAEL MIRZADA                          PRO          UNS                          0.00   1,594,600.00   1,594,600.00         0.00    15,946.00
                    LEVEL 3 FINANCIAL, LLC                                  1.00                       0.00   1,594,600.00      15,946.00         0.00         0.00
021       344798    MICHAEL MIRZADA                          PRO          UNS                          0.00   1,445,600.00   1,445,600.00         0.00    14,456.00
                    FINANCIAL ONE, LLC                                      1.00                       0.00   1,445,600.00      14,456.00         0.00         0.00
022       344798    MICHAEL MIRZADA                          PRO          UNS                          0.00   1,594,600.00   1,594,600.00         0.00    15,946.00
                                                                            1.00                       0.00   1,584,600.00      15,946.00         0.00         0.00
023       330382    NAVY FEDERAL CREDIT UNION                PRO          UNS                          0.00      89,708.38      89,708.38         0.00       897.08
                                                                            1.00                       0.00      90,000.00         897.08         0.00         0.00
024       PORT      PORTFOLIO RECOVERY ASSOCIATES            PRO          UNS                          0.00           0.00           0.00         0.00     Not Filed
                                                                            1.00                       0.00       1,832.00           0.00         0.00
025       327191    QUANTUM3 GROUP LLC                       PRO          UNS                          0.00       4,122.72       4,122.72         0.00        41.23
                    LOWE'S, GECRB                                           1.00                       0.00       4,122.72          41.23         0.00         0.00
026       324267    RADIOLOGIC ASSOC F'BURG                  PRO          UNS                          0.00           0.00           0.00         0.00     Not Filed
                                                                            1.00                       0.00       1,595.00           0.00         0.00
027       334104    THD/CBNA                                 PRO          UNS                          0.00           0.00           0.00         0.00     Not Filed
                                                                            1.00                       0.00      12,413.00           0.00         0.00
028       344796    WALMART                                  PRO          UNS                          0.00           0.00           0.00         0.00     Not Filed
                                                                            1.00                       0.00       3,968.00           0.00         0.00
029       320336    WELLS FARGO FINANCIAL BANK               PRO-A        UNS                          0.00       4,128.82       4,128.82         0.00        41.29
                    UNLISTED                                                1.00                       0.00           0.00          41.29         0.00         0.00
799       MOFFIT    CHRISTOPHER S. MOFFITT                   PRO          ATY                          0.00           0.00                        0.00         0.00
                                                                          100.00                       0.00       3,500.00                                     0.00
                    Trustee Administrative Fees                                                                                     25.50        25.50
                                                                         TOTALS:                       0.00    ,752,017.49   4,752,042.99        25.50    49,558.37
                                                                                                       0.00    ,082,123.00      49,583.87         0.00         0.00


                             ADMIN        ATTORNEY         PRIORITY          SECURED       UNSECURED               OTHER

      SCHED AMOUNT:              0.00         3,500.00       2,500.00               0.00    5,076,123.00              0.00
      CLAIM AMOUNT:              0.00             0.00       2,058.79               0.00        47,499.58             0.00
   PAID BY TRUSTEE:              0.00             0.00           0.00               0.00             0.00             0.00
  PAID BY 3rd PARTY:             0.00             0.00           0.00               0.00             0.00             0.00

         SUB TOTAL:              0.00             0.00       2,058.79               0.00        47,499.58             0.00          DUE CREDITORS:        49,558.37
      INTEREST DUE:              0.00             0.00            0.00              0.00             0.00             0.00        EXPECTED ADMIN:          3,412.25
        CONTINUING:              0.00             0.00           0.00               0.00             0.00             0.00          LESS AVAILABLE:          474.50

       BALANCE DUE:              0.00             0.00       2,058.79               0.00        47,499.58             0.00        APPROX BALANCE:         52,496.12




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